          Case 3:16-cv-06318-WHO Document 40 Filed 08/25/17 Page 1 of 2



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 7 Attorneys for Plaintiff
   Melvin Craven
 8

 9

10
                                  UNITED STATES DISTRICT COURT
11
              NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION
12

13
     MELVIN CRAVEN,                                     Federal Case No.: 3:16-CV-06318-WHO
14
                    Plaintiff,
15
             vs.                                        STIPULATED REQUEST FOR
16                                                      DISMISSAL OF DEFENDANT EQUIFAX,
     EQUIFAX, INC.; et. al.,                            INC.; ORDER
17
                    Defendants.
18
19
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20
             IT IS HEREBY STIPULATED by and between plaintiff Melvin Craven and defendant
21
     Equifax, Inc. (“Equifax”), that Equifax be dismissed from this action with prejudice pursuant to
22
     Federal Rules of Civil Procedure, section 41(a)(2), and that each party shall bear its own
23
     attorneys’ fees and costs.
24
     //
25
     //
26
     //
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           STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; ORDER
        Case 3:16-cv-06318-WHO Document 40 Filed 08/25/17 Page 2 of 2



 1 DATED: August 24, 2017                       Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              Melvin Craven
 5
     DATED: August 24, 2017                     Nokes & Quinn
 6

 7

 8                                              By:           /s/ Thomas P. Quinn, Jr.
                                                                   Thomas P. Quinn, Jr.
 9
                                                Attorneys for Defendant
10                                              Equifax, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                                   ORDER
16
             Pursuant to the stipulation of the Parties, Equifax is dismissed with prejudice, and that each
17
     party shall bear its own attorneys’ fees and costs.
18
             IT IS SO ORDERED.
19

20
     DATED: August 25, 2017
21                                                 WILLIAM H. ORRICK
                                                   UNITED STATES DISTRICT JUDGE
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                                                           2
          STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; ORDER
